                    IN THE UNITED STATE DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                            3:19-cv-00123-FDW-DCK


MARY E. MOWRY,                            )
                                          )
                  Plaintiff,              )
                                          ) EXHIBIT 1
       v.                                 )
                                          ) (Declaration of Plaintiff Mary E. Mowry)
ORACLE AMERICA, INC.,                     )
a corporation,                            )
                                          )
                  Defendant.              )
_________________________________________ )
                        IN THE UNITED STATE DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION


MARY E. MOWRY,                                        )
                                                      )
                       Plaintiff,                     )
                                                      )
        v.                                            )   Case No.: 3:19-cv-00123-FDW-DCK
                                                      )
ORACLE AMERICA, INC.,                                 )
a corporation,                                        )
                                                      )
                       Defendant.                     )
-------------------------------                       )
         DECLARATION OF PLAINTIFF MARY E. MOWRY IN SUPPORT OF
        PLAINTIFF'S OPPOSITION TO DEFENDANT'S MOTION TO COMPEL
                    ARBITRATION AND STAY PROCEEDINGS


I, Plaintiff Mary E. Mowry, hereby declare and state as follows:

        1.     On December 18, 2013, I was offered the job of Application Sales Representative

for Oracle Financial Services Analytical Applications, a division within Oracle America, Inc.

("Oracle"). A true and correct copy of my offer letter is attached hereto as Exhibit l(a).

       2.      As a condition of my employment with Oracle, I was required to complete an

Employment Agreement and Mutual Agreement to Arbitrate ("Agreement"). A true and correct

copy of this Agreement is attached hereto as Exhibit l(b).

       3.      Because of my strong desire to work at Oracle, I did not believe that I had any

choice but to sign the form Agreement if I wanted to accept the job at Oracle. I also did not

believe that I would be able to negotiate the terms of the form Agreement that I was given. As a

consequence of these beliefs, I completed the Agreement.




                                                  1
       I declare under penalty of perjury under the laws of the United States of America

and the State of North Carolina that the foregoing is true and correct and that this

declaration was executed the 9th day of April, 2019 in Cornelius, North Carolina.




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